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 6    Attorneys for Defendant City of Fresno
 7                              UNITED STATES DISTRICT COURT
 8                            EASTERN DISTRICT OF CALIFORNIA
 9
10                                                ) Case No. 1:07-CV-01210 OWW-SMS
      ROBERT B. HARRIS,                           )
11                                                )     ORDER REGARDING ADDITIONAL
                          Plaintiff,              )     MOTIONS IN LIMINE
12                                                )
             v.                                   )
13                                                )
      CITY OF FRESNO,                             )
14                                                )     Trial: July 28, 2009
                          Defendant.              )
15                                                )
                                                  )
16                                                )
17
             On July 17, 2009, a motion in limine conference was held in this matter. Sean
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      Gavin appeared for Plaintiff Robert Harris. James B. Betts and Joseph D. Rubin
19
      appeared for Defendant City of Fresno.
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             Based upon the Court’s review of the filed motions and the argument of counsel,
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      the Court ORDERS AS FOLLOWS:
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23
             1.    The Court grants, in part, Defendant’s Motion in Limine (No. 19) as
24
      follows:
25
                   (1)    The alleged statement of Mr. McIntyre is precluded; however,
26
                          Defendant is to advise the Court by noon on July 27, 2009, as to
27
                          the availability of Mr. McIntyre and his recollection of the alleged
28

                                                                                Order re Additional MILs
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 1                        statement;
 2                 (2)    The alleged statement of Mr. Little is precluded; however, Plaintiff
 3                        may have the opportunity to voir dire the witness outside the
 4                        presence of the jury as to whether he made the statement and his
 5                        intent in making it;
 6                 (3)    The alleged statement of Mr. Clark as to “plat boy” is precluded;
 7                 (4)    The alleged statement of Mr. Clark as to Governor’s name is
 8                        permitted;
 9                 (5)    the alleged statement of Mr. Anderson is precluded; however,
10                        Defendant is to advise the Court by noon on July 27, 2009, as to
11                        Mr. Anderson’s availability and his recollection of the alleged
12                        statement; and
13                 (6)    the alleged statements of Mr. Schwartz are precluded; however,
14                        Defendant is to advise the Court by noon on July 27, 2009, as to
15                        Mr. Schwartz’s availability and recollection of the alleged
16                        statements.
17          2.     The Court grants Defendant’s Motion in Limine (No. 20) to preclude
18    Richard Short’s alleged statement in 1999 – 2000 as referenced in the motion.
19          3.     The Court grants Defendant’s Motion in Limine (No. 21) to exclude any
20    claim of a tangible employment action after August 21, 2005.
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22
23    IT IS SO ORDERED.
24    Dated: July 24, 2009                            /s/ Oliver W. Wanger
      emm0d6                                     UNITED STATES DISTRICT JUDGE
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                                                  -2-                          Order re Additional MILs
